       19-11705-cgm        Doc 47     Filed 11/07/19 Entered 11/07/19 16:42:11             Blank Notice
                                            (wysiwyg) Pg 1 of 1
                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF NEW YORK
                                             One Bowling Green
                                          New York, NY 10004−1408


IN RE: Cheryl Louise Williams−Murray                     CASE NO.: 19−11705−cgm
aka Cheryl Louise Williams−Murray
aka Cheryl L. Murray
Social Security/Taxpayer ID/Employer ID/Other Nos.:      CHAPTER: 13
xxx−xx−8497




                                       Amended Notice of Hearing



Please take notice that the Motion to Extend Deadline to File Schedules or Provide Required Information filed by
Cheryl Louise Williams−Murray currently scheduled for 11/21/19 at 9:30 am will be heard at 9:05 am in Courtroom
617.



Dated: November 7, 2019                                     Vito Genna
                                                            Clerk of the Court
